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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                               :
SDN LIMITED and STEVEN NEYAROFF,                               : Case No. 24-cv-06089-JMA-AYS
                                                               :
                           Plaintiffs,                         :
                                                               :
                  -against-                                    :
                                                               :
IOV LABS LIMITED, RIF LABS LIMITED, RSK : CERTIFICATE OF SERVICE
LABS         LIMITED,          DIEGO          GUTIERREZ :
ZALDIVAR, and ALEJANDRO MARIA ABERG :
COBO a/k/a ALEX COBO,                                          :
                                                               :
                           Defendants.                         :
                                                               :
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         I certify that, Pursuant to Fed. R. Civ. P. 4(f)(2)(C)(ii), and the United States District Court

for the Eastern District of New York’s Clerk’s Office Foreign Mailing Instructions, as reflected

by the October 17, 2024 docket entries in this action (see Dkt. Nos. 15-16), I caused true and

correct copies of the: (i) Notice of Removal (Dkt. No. 1); (ii) Exhibit A: State Court Docket Sheet

(Dkt. No. 1-1); (iii) Exhibit B: Summons With Notice (Dkt. No. 1-2); (iv) Exhibit C: Affirmation

of Service (Dkt. No. 1-3); (v) Exhibit D: Affirmation of Service (Dkt. No. 1-4); (vi) Exhibit E:

Affirmation of Service (Dkt. No. 1-5); (vii) Exhibit F: Notice of Motion To Enlarge Time For

Service (Dkt. No. 1-6); (viii) Exhibit G: Piskora Affirmation (Dkt. No. 1-7); (ix) Exhibit H: Piskora

Affirmation Ex. 1 (Dkt. No. 1-8); (x) Exhibit I: Piskora Affirmation Ex. 2 (Dkt. No. 1-9); (xi)

Exhibit J: Plaintiffs' Memorandum of Law (Dkt. No. 1-10); (xii) Exhibit K: Plaintiffs' Affirmation

of Service (Dkt. No. 1-11); (xiii) Exhibit L: Request for Judicial Intervention (Dkt. No. 1-12); (xiv)

Exhibit M: RJI Addendum (Dkt. No. 1-13); (xv) Civil Cover Sheet (Dkt. No. 2); (xvi) Summons

with Notice & Certified Translation; and (xvii) Notice of Electronic Filing & Certified Translation,




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(collectively, the “Filings”), to be served by FedEx International Priority Mailing (see Dkt. Nos.

15-16), upon the following:

                              Alejandro Maria Aberg Cobo
                              c/o Fiduciary Management Limited
                              Suite 23 Portland House
                              Glacis Road
                              Gibraltar
                              GX11 1AA

                                             – and –

                              Alejandro Maria Aberg Cobo
                              Camino De Los Horneros 220
                              Lomas De La Tahoma Lote 346
                              14000 Colonia Nicolich
                              Canelones, Uruguay

        True and correct copies of FedEx tracking summaries indicating that the Filings were

delivered to the above addresses are attached hereto as Exhibits A and B, respectively.


Dated: New York, New York
       October 31, 2024
                                             LOEB & LOEB LLP


                                             By:     /s/ David A. Forrest
                                                    John A. Piskora
                                                    David A. Forrest
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                                                    Attorneys for Plaintiffs
                                                    SDN Limited and Steven Nerayoff




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